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                        Exhibit 2
                  TO UNITED STATES’ BILL OF COSTS
                                                                             Exhibit 2
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United States' Unopposed Motion for Amendment to PTO 1 and PTO 14 Regarding Communications between              05/13/2011   $        35.00    1
Counsel for the United States, the States, and Plaintiffs Steering Committee; Proposed Order Granting the
United States' Unopposed Motion for Amendment to PTO 1 and PTO 14 Regarding Communications between
Counsel for the United States, the States, and Plaintiffs' Steering Committee; United States' Unopposed
Motion for Entry of Order Relating to Confidential Information in the Possession of the United States;
Proposed Order Granting the United States' Unopposed Motion for Entry of Order Relating to Confidential
Information in the Possession of the United States
Ex Parte Consent Joint Motion of the United States and Anadarko E&P Company LP to Modify and Clarify            05/16/2011   $        35.00    1
Court's Order Dated April 28, 2011 (Rec. Doc. 2184) Regarding Deadlines for Filing Opposition and Response to
Anadarko E&P Company LP's Motion to Dismiss and Reply Thereto [filed 5‐16‐2011, Rec. Doc. 2392]; Proposed
Order accompanying Ex Parte Consent Joint Motion of the United States and Anadarko E&P Company LP (Rec.
Doc. 2392) [filed 5‐16‐2011, Rec. Doc. 2392‐1]
Unopposed Motion for Order Protecting Confidentiality of Settlement Communications; Unopposed Motion            05/27/2011   $        35.00    2
for Order Protecting Confidentiality of Settlement Communications ‐ Proposed Order
The United States' First Set of Interrogatories, Requests for Production of Documents, and Requests for         06/10/2011   $        35.00    3
Admission to Anadarko Petroleum Corporation; The United States' First Set of Interrogatories, Requests for
Production of Documents, and Requests for Admission to MOEX Offshore 2007 LLC
United States' Response to Anadarko E&P LP's 1st Set of Discovery Requests; United Stats' Response to           06/20/2011   $        35.00    3
Anadarko Petroleum's 1st Set of Discovery Requests; United States' Third Response to BP's First Set of
Discovery Requests; United States' Initial Response to BP's Second Set of Discovery Requests; United States'
Response to BP's 3d Set of Discovery Requests; United States' Response to MOEX's 1st Set of Discovery
Requests; United States' Response to Various Defendants' Requests
United States' Report on Efforts to Respond to Discovery Served on the United States Before July 1, 2011        09/06/2011   $        35.00    4

Revisions to the United States' First Set of Interrogatories, Requests for Production of Documents, and         09/09/2011   $        35.00    4
Requests for Admission to Anadarko Petroleum Corporation
Statement of the United States of America on the Effect of the Court's Order (Rec. Doc. 3830) on Pending        09/12/2011   $        35.00    4
Motions to Dismiss ‐‐ filed 9‐12‐2011 (Rec. Doc. 3975)
United States' Ex Parte Motion for Leave to File Memorandum in Support of United States' Second Motion for      12/06/2011   $        35.00    5
Partial Summary Judgment as to the Liability of BP Exploration & Production Inc., the Transocean Defendants,
and the Anadarko Defendants, in Excess of Page Limit, with Proposed Motion, Orders, Memorandum in
Support of the United States' Second Motion for Partial Summary Judgment, Statement of Undisputed Facts,
and Exhibits thereto ‐‐ Parts 1‐3 [Rec. Doc. 4820 ‐ filed 12‐6‐11]
Unopposed Motion to Dispose of Dupes and Trash; Proposed Order granting Unopposed Motion to Dispose of          12/20/2011   $        35.00    6
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Dupes and Trash; Exhibit 1 to Unopposed Motion to Dispose of Dupes and Trash




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Plaintiff United States' Response to BP's Initial Brief and Document Identification Regarding Deliberative         04/11/2012   $        35.00    7
Process Privilege
United States' Memorandum in Opposition to Two Motions to Intervene ‐ filed 5‐11‐2012 [Rec. Doc. 6508]             05/11/2012   $        35.00    8

United States' Opposition to BP's Objections to and Appeal from Magistrate Judge's Order Regarding BP's            06/19/2012   $        35.00    9
Challenges to 21 Deliberative Process Privilege Claims by the United States (Rec. Doc. 6650)
Statement of Interest of the United States in Reply to the PSC's Omnibus Opposition [Doc.# 6691‐2] to the B3       07/06/2012   $        35.00   10
Summary Judgment Motions ‐‐ filed 7‐6‐2012 [Doc. 6851]
Agreed 30(b)(6) Deposition Notice of BP Defendants                                                                 08/02/2012   $        35.00   11

Plaintiff United States' Notice of Service of Non‐Party Subpoena Upon Worldwide Oilfield Machine, Inc.; Notice     08/02/2012   $        35.00   11
of Video Deposition of Intertek Group, Plc Pursuant to the Federal Rules of Civil Procedure (With 30(b)(2)
Document Requests); Notice of Video Deposition of Isotech Laboratories, Inc. Pursuant to the Federal Rules of
Civil Procedure (With 30(b)(2) Document Requests)
Notice of Service of Privilege Logs and Related Discovery Documents; United States' 54th Privilege Log; The        08/15/2012   $        35.00   11
United States' 55th Privilege Log; The United States' 56th Privilege Log; The United States' 56th Privilege Log;
United States' List of Large Files with Processing Issues; United States' Loose Media Index
United States' Letter Brief Responding to BP's Schedule 4 Privilege Challenges                                     08/17/2012   $        35.00   12

United States' 58th Privilege Log (Purdue University Documents)                                                    08/21/2012   $        35.00   12

Letter to Judge Shushan re BP's Email re August 15 Deadline and Related Phase II Issues                            08/24/2012   $        35.00   12

Agreed 30(b)(6) Deposition Notice of Add Energy Group with attached Deposition Subpoena                            08/29/2012   $        35.00   12

Motion of the United States for Leave to File Memorandum in Excess of Ordinary Page Limitations Regarding          08/31/2012   $        35.00   12
the "United States' Response to the BP Defendants' Motion for Final Approval of Deepwater Horizon Economic
and Property Damages Settlement" [Rec. Doc. 7114], with Memorandum, Declaration of R. Michael Underhill,
and Exhibits thereto attached [Rec. Doc. 7229] ‐‐ filed 8‐31‐2012 ‐‐ Parts 1‐3; Ex Parte Motion of the United
States to File its Unredacted Memorandum Under Seal Regarding the "United States' Response to the BP
Defendants' Motion for Final Approval of Deepwater Horizon Economic and Property Damages Settlement"
[Rec. Doc. 7114] [Rec. Doc. 7230] ‐‐ filed 8‐31‐2012
Notice of Appeal filed by the United States [Rec. Doc. 7442] ‐ filed 9‐18‐2012                                     09/18/2012   $        35.00   13
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Letter to Judge Shushan re In Camera Submission re Documents Withheld at United States' Request from Third         09/19/2012   $        35.00   13
Party Subpoena Productions; Letter to Judge Shushan re DPP Claims in US Privilege Logs 58 and 59; Letter to
Judge Shushan re DPP Claims in US Privilege Logs 58 and 59 (Attachment 2)
Letter to Judge Shushan re DPP Claims in US Privilege Logs 58 and 59 (actual letter)                               09/19/2012   $        35.00   13

Letter to Judge Shushan re Coast Guard Deliberative Process Privilege Claims; Letter to Judge Shushan Coast        09/20/2012   $        35.00   13
Guard Deliberative Process Privilege Claims (Att. 1 ‐ Declaration); Letter to Judge Shushan re Coast Guard
Deliberative Process Privilege Claims (Log of Phase 2 DPP Assertions by USCG)
Letter to Judge Shushan re Cumulative Privilege Log List; US Cumulative List of Privilege Logs; US Privilege Log   09/21/2012   $        35.00   13
60; US Clawback Log of Sept. 21, 2012
Agreed 30(b)(6) Deposition Notice of the BP Institute for Multiphase Flow (With 30(b)(2) Document Requests),       09/21/2012   $        35.00   13
with attached Subpoena
Letter to Judge Shushan re Zantaz DPP Verification; United States' Log of ZANTAZ Documents Challenged by BP        9/27/2012    $        35.00   14
and over which the US only Asserts Deliberative Process Privilege
United States' Clawback Notification for September 28, 2012; United States' Clawback Log for September 28,         09/28/2012   $        35.00   14
2012
United States' Privilege Log 61 (Clawback and Landry)                                                              09/28/2012   $        35.00   14

Letter to Judge Shushan re Cumulative Log List; United States' Cumulative List of Privilege Logs for the Week      09/28/2012   $        35.00   14
Ending Sept. 28, 2012
United States' Clawback Notice for October 2, 2012; United States' Clawback Log for October 2, 2012                10/02/2012   $        35.00   15

United States Privilege Log 62 (Clawback and McNutt)                                                               10/02/2012   $        35.00   15

United States Clawback Notice for October 4, 2012; United States Clawback Log for October 4, 2012                  10/04/2012   $        35.00   15

United States Privilege Log 63                                                                                     10/04/2012   $        35.00   15

United States Privilege Log 64                                                                                     10/05/2012   $        35.00   15

Letter to Judge Shushan re US Cumulative Privilege Log List for October 5, 2012; US Cumulative Privilege Log       10/05/2012   $        35.00   15
List for October 5, 2012
Letter to Judge Shushan re Completion of US QA QC of its Production                                                10/10/2012   $        35.00   15
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United States Clawback Notification; United States Clawback Log for October 12, 2012                               10/12/2012   $        35.00   16




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Letter to Judge Shushan re US Production of Documents                                                             10/17/2012   $        35.00   16

United States Clawback Notification; United States Clawback Log for October 17, 2012                              10/18/2012   $        35.00   16

Letter to Judge Shushan re Cumulative Log List; United States Cumulative List of Privilege Logs; United States'   10/18/2012   $        35.00   16
October 18, 2012 Clawback Notification; United States' 65th Privilege Log (Phase 1 DPP Claims); United States'
66th Privilege Log (Phase 1 Non‐DPP Claims); United States' 67th Privilege Log (Phase 2 DPP Claims); United
States' 68th Privilege Log (Phase 2 Non‐DPP Claims); United States' 69th Privilege Log (Later Phases DPP
Claims); United States' 70th Privilege Log (Later Phases Non‐DPP Claims)
United States' Corrected Privilege Log 69                                                                         10/19/2012   $        35.00   16

United States' Clawback Notification of October 22, 2012; United States' 71st Privilege Log                       10/22/2012   $        35.00   16

US Clawback Log of October 24, 2012; US Privilege Log 72                                                          10/24/2012   $        35.00   17

United States' Cumulative List of Privilege Logs as of October 25, 2012                                           10/25/2012   $        35.00   17

US Clawback Notice of October 26, 2012; US Privilege Log 73                                                       10/26/2012   $        35.00   17

Letter to Allan Pixton re Various Open Discovery Issues (and attachment)                                          10/29/2012   $        35.00   17

Letter to Allan Pixton re Various Open Discovery Issues (Actual Letter)                                           10/29/2012   $        35.00   17

US Clawback Notice of October 31, 2012                                                                            10/31/2012   $        35.00   17

United States' Letter to BP re: Production of Intertek Videos; Exhibit 9754                                       11/01/2012   $        35.00   18

United States' Cumulative List of Privilege Logs                                                                  11/02/2012   $        35.00   18

United States Clawback Notification; United States Clawback Log for November 5, 2012                              11/05/2012   $        35.00   18

United States Clawback Notification and Privilege Log 74; United States Clawback Log for November 8, 2012;        11/08/2012   $        35.00   19
United States Privilege Log 74
United States' Cumulative Log List for November 9, 2012                                                           11/09/2012   $        35.00   19
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United States Cumulative List of Privilege Logs for November 23, 2012; United States' 75th Privilege Log (UC ‐   11/23/2012   $        35.00   19
Leifer)
Confidentiality Designations for Stewart Griffiths Deposition                                                    11/27/2012   $        35.00   19

United States' Good Faith Phase Two Trial Exhibit List ‐ First Installment                                       12/19/2012   $        35.00   20

US Privilege Log 76                                                                                              12/20/2012   $        35.00   20

United States' Cumulative Log List                                                                               12/20/2012   $        35.00   21

United States' Letter Brief re Certain BP Rule 30(b)(6) Depositions (Redacted)                                   12/21/2012   $        35.00   21

United States' 77th Privilege Log                                                                                01/03/2013   $        35.00   22

United States' Cumulative List of Privilege Logs for January 4, 2013                                             01/04/2013   $        35.00   22

United States' Objections to Phase Two Good Faith Exhibit List ‐‐ First Installment                              01/14/2013   $        35.00   23

Letter to Judge Shushan re U.S. Rule 30(b)(6) Designees                                                          01/16/2013   $        35.00   23

Letter to Judge Shushan re EPA Search Terms                                                                      01/17/2013   $        35.00   23

US Privilege Log #80                                                                                             01/30/2013   $        35.00   24

Letter to Judge Shushan re BP's Motion to Reconsider regarding BP's Rule 30(b)(6) Designees and attached         01/30/2013   $        35.00   24
exhibits
United States' Cumulative List of Privilege Logs for February 1, 2013 & United States' 81st Privilege Log        02/01/2013   $        35.00   25

Letter to Judge Shushan requesting Clarification or Reconsideration of Order re US Rule 30(b)(6) Designees       02/08/2013   $        35.00   26

United States' Cumulative List of Confidentiality De‐Designations                                                02/13/2013   $        35.00   26

United States' Motion in Limine for Admission of Nine Phase II Trial Exhibits, Memorandum in Support and         02/15/2013   $        35.00   26
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Exhibits Thereto, with Proposed Order [Rec. Doc. 8587]; United States' Ex Parte Motion to File its Unredacted
Memorandum and Exhibits Under Seal Regarding Motion in Limine for Admission of Nine Trial Exhibits, with
Proposed Order [Dkt. No. 8587] [Rec. Doc. 8588]


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United States' Reply Memorandum in Support of Motion for Admission of Nine Trial Exhibits (Phase Two) ‐          03/01/2013   $        35.00   27
filed 3‐1‐2013 [Rec. Doc. 8733]
United States' Cumulative Privilege Log List & United States' 83rd Privilege Log (EPA)                           03/05/2013   $        35.00   27

United States' Response to Interrogatories from Rec. Doc #8466                                                   03/08/2013   $        35.00   28

United States' Cumulative Clawback Log as of March 15, 2013                                                      03/15/2013   $        35.00   28

United States' Phase Two Expert Witness Disclosure                                                               03/22/2013   $        35.00   28

Notice of Filing United States' Good Faith Phase Two Trial Exhibit List ‐‐ Second Installment & United States'   03/29/2013   $        35.00   28
Good Faith Phase Two Trial Exhibit List ‐‐ Second Installment
Revised Consideration Materials List for United States' Expert Dr. Ronald Dykhuizen & Revised Consideration      04/01/2013   $        35.00   30
Materials List for United States' Experts Drs. Mohan Kelkar and Rajagopal Raghavan
United States' Trial Objections to the Deposition Bundles of Gary Kenney and Neil Thompson (with                 04/04/2013   $        35.00   30
attachments)
US Cumulative Clawback Log of April 15, 2013 & United States' 84th Privilege Log                                 04/16/2013   $        35.00   30

United States' Objections to Good Faith Phase Two Trial Exhibit List ‐‐ Second Installment                       04/19/2013   $        35.00   30

U.S. Cumulative Clawback Log of May 15, 2013                                                                     05/15/2013   $        35.00   31

Motion for Entry of Revised Versions of PTO 37 and 39 (and attachments)                                          05/17/2013   $        35.00   32

United States' Letter Brief in Response to BP's Letter Brief Regarding the Admissibility of TREX‐009088          05/28/2013   $        35.00   32

Motion to Exclude Expert Testimony; Memorandum in Support; Proposed Order; Exhibit 1                             05/29/2013   $        35.00   32

US Brief Regarding Dr. Marchand; BP Witness Disclosure; US Initial Letter; BP Letter: US Second Letter           06/07/2013   $        35.00   33

United States' Second Phase Two Expert Witness Disclosure                                                        06/10/2013   $        35.00   33

Phase Two Witness List                                                                                           06/24/2013   $        35.00   34
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United States' Objections to and Motion to Review "Order Regarding BP‐Anadarko's Motion to Strike Rebuttal       06/27/2013   $        35.00   34
Experts for the U.S.", Memorandum in Support, and Exhibits thereto ‐ filed 6‐27‐2013 [Rec. Doc. 10533]

United States' Ex Parte Motion to File Under Seal Certain Exhibits Regarding United States' Objections to and    06/27/2013   $        35.00   34
Motion to Review "Order Regarding Motion to Strike Rebuttal Experts for the U.S." ‐ filed 6‐27‐2013 [Rec. Doc.
10535]
United States' Phase Two, Quantification Segment, Motion in Limine to Exclude Admittedly Incorrect Opinion       08/19/2013   $        35.00   35
Testimony of Adrian Johnson ‐ filed 8‐19‐2016 [Doc. 11052]; Phase Two, Quantification Segment, Motion in
Limine of the United States: Motion to Preclude Opinion Testimony of BP‐Anadarko Witness Curtis Whitson as
to Pure Question of Law ‐ filed 8‐19‐2013 [Doc. 11056]; United States' Phase Two, Quantification Segment,
Motion in Limine to Exclude the Testimony of Srdjan Nesic filed 8‐19‐2013 [Doc. 11058]

Phase Two, Quantification Segment, Motion in Limine of the United States: Motion to Exclude the Expert           08/19/2013   $        35.00   35
Testimony of Michael Zaldivar filed 8‐19‐2013 [Doc. 11057] ‐ Part 1 of 3; Phase Two, Quantification Segment,
Motion in Limine of the United States: Motion to Exclude the Expert Testimony of Michael Zaldivar filed 8‐19‐
2013 [Doc. 11057] ‐ Part 2 of 3; Phase Two, Quantification Segment, Motion in Limine of the United States:
Motion to Exclude the Expert Testimony of Michael Zaldivar filed 8‐19‐2013 [Doc. 11057] ‐ Part 3 of 3; United
States' Ex Parte Motion to File Its Unredacted Memorandum and Exhibits Under Seal Regarding Motion to
Exclude Expert Testimony of Michael Zaldivar filed 8‐19‐2013 [Doc. 11059]; Phase Two Quantification
Segment; Motion in Limine of the United States: Motion to Preclude Surrebuttal Expert Opinion Testimony Not
Disclosed in Rule 26(a) Written Reports of Certain BP‐Anadarko Witnesses filed 8‐19‐2013 [Doc. 11060]

United States' Cumulative Confidentiality De‐Designation Log of August 23, 2013                                  08/23/2013   $        35.00   35

Notice of Filing of United States' Phase Two Exhibit List Installment 3 (and Parts 1‐6)                          08/23/2013   $        35.00   36

United States' 85th Privilege Log; United States' Cumulative Claw‐Back Log of August 30, 2013                    08/30/2013   $        35.00   36

United States' Objections to Good Faith Phase Two Trial Exhibit List ‐ Third Installment                         08/30/2013   $        35.00   36

United States' Opposition to BP's Motion in Limine to Exclude Other Government Reports and Privileged            09/03/2013   $        35.00   37
Communications Relating to the Scope of BP's Internal Investigation from Both Segments of the Phase Two
Trial (and 5 attachments)
United States' Cumulative De‐Designation Log of September 3, 2013                                                09/03/2013   $        35.00   37
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United States' Memorandum in Opposition to BP's Motion to Exclude Opinions and Testimony of Drs.                09/03/2013   $        35.00   38
Dykhuizen and Griffiths (and Attachments 1‐24); Motion to Seal Attachments 10, 17, and 18 to United States'
Memorandum in Opposition to BP's Motion to Exclude Opinions and Testimony of Drs. Dykhuizen and
Griffiths; Proposed Order Granting Motion to Seal Attachments 10, 17, and 18 to United States' Memorandum
in Opposition to BP's Motion to Exclude Opinions and Testimony of Drs. Dykhuizen and Griffiths

United States' Memorandum in Opposition to BP's Motion to Exclude Certain Opinions and Testimony of Dr.         09/03/2013   $        35.00   38
Mohan Kelkar, with Exhibits ‐ Filed 9‐3‐2013 [Rec. Doc. 11201] ‐‐ Parts 1‐6
United States' Memorandum in Opposition to BP's Motion to Exclude Opinions and Testimony of Dr. Nathan          09/04/2013   $        35.00   39
Bushnell (and 25 exhibits); Motion to Seal Exhibits to United States' Memorandum in Opposition to BP's
Motion to Exclude Opinions and Testimony of Dr. Nathan Bushnell; Proposed Order Granting Motion to Seal
Certain Exhibits to United States' Memorandum in Opposition to BP's Motion to Exclude Opinions and
Testimony of Dr. Nathan Bushnell
United States of America's Pre‐Trial Statement for Phase Two: Number of Barrels of Oil Discharged, and BP's     09/05/2013   $        35.00   40
Statements and Actions Related to Quantification and Source Control ‐ filed 9‐5‐2013 [Rec. Doc. 11265]

Reply in Support of United States' Motion to Preclude Surrebuttal Expert Opinion                                09/10/2013   $        35.00   40

Reply Memorandum in Support of Motion in Limine to Exclude the Expert Testimony of Dr. Srjdan Nesic (and 1      09/10/2013   $        35.00   40
attachment); Reply Memorandum in Support of the United States' Motion to Preclude Opinion Testimony of
Curtis Whitson (and 2 attachments); Reply Memorandum in Support of Motion in Limine to Exclude the Expert
Testimony of Michael Zaldivar (and 7 attachments)
United States' Good Faith Phase 2 Exhibit List ‐ Final Installment                                              09/13/2013   $        35.00   40

Corrected United States Phase 2 Good Faith Exhibit List                                                         09/16/2013   $        35.00   40

Motion to Review Magistrate's Order Regarding Motion to Strike Dr. Nathan Bushnell Deposition Designation       09/16/2013   $        35.00   41
or, in the alternative, Motion to Strike BP "Relied Upon" Experts; Proposed Order Granting Motion to Review
Magistrate's Order Regarding Motion to Strike Dr. Nathan Bushnell Deposition Designation or, in the
alternative Motion to Strike BP "Relied Upon" Experts; Brief in Support of Motion to Review Magistrate's
Order Regarding Motion to Strike Dr. Nathan Bushnell Deposition Designation or, in the Alternative Motion to
Strike BP "Relied Upon" Experts; Exhibits in Support of Motion to Review Magistrate's Order Regarding Motion
to Strike Dr. Nathan Bushnell Deposition Designation or, in the Alternative Motion to Strike BP "Relied Upon"
Experts
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Corrected Proposed Order Granting Motion to Review Magistrate's Order Regarding Motion to Strike Dr.            09/16/2013   $        35.00   41
Nathan Bushnell Deposition Designation or, in the Alternative Motion to Strike BP "Relied Upon" Experts



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United States' Motion to Review Magistrate's Order Regarding Motion to Strike Dr. Nathan Bushnell               09/17/2013   $        35.00   41
Deposition Designation and, in the Alternative, Motion to Strike BP "Relied Upon" Experts; Memorandum in
Support, and Exhibits thereto ‐‐ filed 9‐17‐2013 [Rec. Doc. 11397]
United States' Objections to Good Faith Phase Two Exhibit Lists                                                 09/20/2013   $        35.00   41

                                                                                                                09/24/2013   $        35.00   41
United States' 86th Privilege Log; United States' Cumulative Clawback Log of September 24, 2013
Parties' Phase Two Good Faith Combined Trial Exhibit and Objection List (Pleading); Parties' Phase Two Good     09/26/2013   $        35.00   42
Faith Combined Trial Exhibit and Objection List (List)
United States' Objections to BP's Demonstratives                                                                09/30/2013   $        35.00   42

United States' Objections to BP's Second Disclosure of Demonstratives for the Quantification Segment of the     10/03/2013   $        35.00   43
Phase Two Trial
United States' Phase Two Post‐Trial Brief; Notice of Filing of United States' Proposed Findings of Fact and     12/20/2013   $        35.00   44
Conclusions of Law; United States' Proposed Findings of Fact; Attachment A to United States' Proposed
Findings of Facts (Lynch Errata); United States' Proposed Conclusions of Law
United States Opposition to BPXP's Motion in Limine to Exclude (1) Additional Evidence of Culpability and (2)   03/06/2014   $        35.00   45
Evidence Relating to Prior Incidents, and Exhibits thereto [Rec. Doc. 12460] ‐ filed 3‐6‐2014 (Parts 1‐3);
Corrected United States' Motion to File Three Exhibits Under Seal Regarding United States Opposition to
BPXP's Motion in Limine to Exclude (1) Additional Evidence of Culpability and (2) Evidence Relating to Prior
Incidents [Rec. Doc. 12464] ‐ filed 3‐6‐2014; United States' Opposition to Motion in Limine of Defendant
Anadarko Petroleum Corporation to Exclude All Evidence Regarding Anadarko's Culpability [Rec. Doc. 12462] ‐
filed 3‐6‐2014 (Parts 1 and 2)
Additional Response of the United States to Order [Re: Preparation for Discovery in the Penalty Phase];         03/10/2014   $        35.00   45
Memorandum on the Burden of Proof for the Penalty Factors in Section 311(b) of the Clean Water Act [Rec.
Doc. 12479] ‐ filed 3‐10‐14
U.S. Reply to Anadarko's Opposition to Motion for Discovery of Anadarko's Subsidiaries & Exhibit                03/17/2014   $        20.00   45

United States' Motion to Compel Production of the Injury and Illness Database, Memorandum in Support, and       05/30/2014   $        35.00   46
Exhibit thereto ‐ filed 5‐30‐14 [Rec. Doc. 12958]; Motion to Expedite the United States' Motion to Compel
Production of the Injury and Illness Database ‐ filed 5‐30‐14 [Rec. Doc. 12959]
United States Penalty Phase Cumulative Clawback Log of July 2, 2014                                             07/02/2014   $        35.00   47

United States' Third Supplemental Response to Defendants' Penalty Phase Discovery                               07/09/2014   $        35.00   47
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US Privilege Log 87; Declaration of Ed Keable in Support of US Privilege Log 87; Declaration of RADM Poulin in        07/11/2014   $        35.00   47
Support of US Privilege Log 87; US Cumulative Claw Back Log as of July 11, 2014; United States' Third Amended
Initial Rule 26 Disclosure
Motion to Review Order Regarding Admiral Mary Landry; Brief in Support of Motion to Review Order                      08/08/2014   $        35.00   48
Regarding Admiral Mary Landry; Proposed Order in Support of Motion to Review Order Regarding Admiral
Mary Landry; Letter to Judge Shushan regarding addition of Robin Conmy to US Rule 26(a) Disclosure
United States' Penalty Phase "Round 2" Expert Witness Disclosure                                                      09/12/2014   $        35.00   49

Notice of Filing United States' Good Faith Penalty Phase Trial Exhibit List: First Installment; United States' Good   09/26/2014   $        35.00   49
Faith Penalty Phase Trial Exhibit List: First Installment
Notice of Service of US Round 3 Expert Reports                                                                        09/26/2014   $        35.00   49

US First Good Faith Report on Confidentiality Status of Penalty Phase Exhibits                                        10/03/2014   $        35.00   50

United States' Initial Objections to September 26, 2014 Good Faith Penalty Phase Trial Exhibit Lists                  10/08/2014   $        35.00   50

Notice of Filing of Stipulations (Phase III) Under the "Framework for Early Restoration Addressing Injuries           10/09/2014   $        35.00   50
Resulting from the Deepwater Horizon Oil Spill" ‐ filed 10‐9‐2014 [Rec. Doc. 13481] (and exhibits 1‐4)
Plaintiff United States' (1) Motion in Limine to Admit Evidence Pertaining to Anadarko's Contentions                  12/02/2014   $        35.00   51
Concerning Non‐Operators and (2) In Opposition to Anadarko's Motion to Enforce the Court's Order Excluding
Culpability Evidence Against Anadarko, Memorandum in Support, and Exhibits thereto ‐ filed 12‐2‐14 ‐ [Rec.
Doc. 13747]
United States' Motion in Limine to Exclude Legal Opinion Testimony of David Sunding, Memorandum in                    12/05/2014   $        35.00   51
Support, and Exhibits thereto ‐ filed 12‐5‐14 [Rec. Doc. 13764]
Opposition of the United States To: BPXP's Motion to Establish as a Matter of Law the Maximum CWA Per‐                12/08/2014   $        35.00   51
Barrel Civil Penalty ‐ filed 12‐8‐2014 [Rec. Doc. 13796]
US Penalty Phase Exhibit List ‐‐ Second Installment; US Final Penalty Phase Witness List; US Notice of Video          12/12/2014   $        35.00   51
Clips from Deposition that the United States May Use at Trial
United States' Memorandum in Opposition to BPXP's Motion to Strike Opinions and Testimony of Charles F.               12/15/2014   $        35.00   51
Mason ‐filed 12‐15‐14 [Rec. Doc. 13846]; United States' Opposition to BPXP's Motion to Exclude the Opinions
and Testimony of Dr. Richard W. Clapp ‐ filed 12‐15‐14 [Rec. Doc. 13850]
US Opposition to BP's Motion to Exclude Testimony of Dr. Diane Austin (and exhibits)                                  12/15/2014   $        35.00   51

US Opposition to BP Motion to Exclude Testimony of Captain Mark VanHaverbeke (and exhibits)                           12/15/2014   $        35.00   52
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United States' Memorandum in Opposition to BPXP's Motion to Exclude the Reports and Testimony of Dr.               12/15/2014   $        35.00   52
Fredric Quivik ‐ filed 12‐15‐14 [Rec. Doc. 13858]; Opposition of the United States To: BPXP's Motion to Exclude
Certain Opinions of Dr. Stanley Rice filed 12‐15‐14 [Rec. Doc. 13859]
US Opposition to BP's Motion to Exclude Opinions and Testimony of Dr. Donald Boesch and Dr. Stanley Rice           12/15/2014   $        35.00   52
Regarding Speculative Environmental Harm by Defendant BP Exploration & Production Inc. (and exhibits)
Opposition to Motion to Exclude Reports and Testimony of Ian Ratner by Defendant BP Exploration &                  12/15/2014   $        35.00   53
Production Inc. (and exhibits)
Omnibus Ex Parte Motion by the United States for Leave to File Documents Under Seal Related to Five Motions        12/15/2014   $        35.00   53
‐ filed 12‐15‐14 [Rec. Doc. 13863]
Pre‐Trial Statement of the United States Regarding the Appropriate Civil Penalty for Anadarko Petroleum            12/19/2014   $        35.00   54
Corporation ‐ filed 12‐19‐2014 [Rec. Doc. 13896]
Reply of the United States in Support of: Motion by the United States Seeking a Legal Ruling Regarding the         12/19/2014   $        35.00   54
Applicable Statutory Maximum Regulation ‐ filed 12‐19‐2014 [Rec. Doc. 13890]; United States' Response to
BPXP's Motion in Limine to Preclude the United States from Introducing Evidence for the Purpose of
Establishing the Liability of BP Group Entities Other than BPXP ‐ filed 12‐19‐2014 [Rec. Doc. 13893]; United
States' Errata Sheet for the United States' Good Faith Penalty Phase Trial Exhibit List ‐ filed 12‐19‐2014 [Rec.
Doc. 13899]; United States' Second Good Faith Confidentiality Status Report
Opposition of the United States To: BPXP's Motion to Exclude Certain Opinions of Dr. Stanley Rice ‐ filed 12‐15‐   12/22/2014   $        35.00   54
14 [Rec. Doc. 13859]; United States' Memorandum in Opposition to BPXP's Motion to Exclude the Reports and
Testimony of Dr. Fredric Quivik [Redacted per Order, Rec. Doc. 13875] ‐ filed 12‐22‐14 [Rec. Doc. 13908]

United States' Memorandum in Opposition to BPXP's Motion to Exclude the Reports and Testimony of Ian               12/22/2014   $        35.00   54
Ratner [Redacted after review per Order, Rec. Doc. 13875] ‐ filed 12‐22‐2014 [Rec. Doc. 13912]
United States' Reply in Support of its Motion in Limine to Exclude Legal Opinion Testimony of David Sunding        12/22/2014   $        35.00   55
(and exhibits)
United States' Rebuttal Video Clips                                                                                12/29/2014   $        35.00   55

United States' Amendment to the United States' Good Faith Penalty Phase Trial Exhibit List (Rec. Doc. 13838) ‐‐    01/05/2015   $        35.00   56
filed 1‐5‐2015 [Rec. Doc. 13969]
United States' Opposition to BPXP's Motion to Strike Errata Sheets for the Expert Reports of Dr. Stanley Rice,     01/09/2015   $        35.00   56
Capt. Mark VanHaverbeke, and Mr. Ian Ratner, and Exhibits thereto ‐ filed 1‐9‐2015 [Rec. Doc. 14003]; Ex Parte
Motion by the United States for Leave to File Documents Under Seal and Request for an Order ‐ filed 1‐9‐2015
[Rec. Doc. 14004]; United States' Second Amendment to the United States' Good Faith Penalty Phase Trial
Exhibit List ‐ filed 1‐9‐2015 [Rec. Doc. 13999]
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United States' Objections to Defendants' Final Good Faith Penalty Phase Exhibit Lists                              01/16/2015   $        35.00   56




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United States' Third Amendment to the United States' Good Faith Penalty Phase Trial Exhibit List                  01/17/2015   $        35.00   56

United States' Fourth Amendment to the United States' Good Faith Penalty Phase Trial Exhibit List [Rec. Doc.      01/20/2015   $        35.00   56
13838]
United States' Fifth Amendment to the United States' Good Faith Penalty Phase Trial Exhibit List [Rec. Doc.       01/30/2015   $        35.00   56
13838]
United States' Proposed Findings of Fact for the Penalty Phase Trial (Redacted); United States' Proposed          03/27/2015   $        35.00   58
Conclusions of Law for the Penalty Phase Trial; United States' Ex Parte Motion to Seal Appendix A to the
United States' Proposed Findings of Fact for the Penalty Phase Trial; Proposed Order Granting United States' Ex
Parte Motion to Seal Appendix A to the United States' Proposed Findings of Fact for the Penalty Phase Trial

United States of America's Post‐Trial Brief                                                                       03/27/2015   $        35.00   58

United States' Reply to Defendants' Post‐Trial Papers                                                             04/24/2015   $        35.00   59

TOTAL                                                                                                                          $     5,480.00
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